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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                          CASE No. 18-CV-80176-BLOOM/Reinhart

  IRA KLEIMAN, et al.,

            Plaintiffs,

  v.

  CRAIG WRIGHT,

        Defendant.
  _________________________/


                            ORDER ON MOTION TO DISMISS

            THIS CAUSE is before the Court upon Defendant Craig Wright’s (“Craig” or

  “Defendant”) Motion to Dismiss, ECF No. [33] (the “Motion”). The Court has

  considered the Motion, the record, the parties’ briefs, and the applicable law. For the

  reasons that follow, the Motion is granted in part and denied in part.

       I.   BACKGROUND

            Plaintiff W&K Info Defense Research, LLC is a Florida limited liability company

  that was incorporated in 2011. ECF No. [24], at ¶ 2. Plaintiff Ira Kleiman is David

  Kleiman’s (“Dave”) brother and is the personal representative of his estate (the “Estate”),

  and is a resident of Palm Beach County, Florida. Id. at ¶ 1. Defendant Craig Wright is

  an Australian citizen who presently resides in London, England. Id. at ¶ 3.

            Dave and Craig met in or around 2003. Id. at ¶ 52. Their relationship centered

  around their mutual interest in cyber security, digital forensics, and the future of money.

  Id. Around 2008, Dave and Craig began to speak about ways to use peer-to-peer file

  sharing to solve issues in cryptography. Id. at ¶ 54. The Amended Complaint alleges
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  that for the next several years, Dave and Craig worked together in developing Bitcoin,

  and that through their collaboration they mined over a million bitcoins together. Id. at

  ¶¶ 53-57, 65. These bitcoins were stored in specifically identifiable bitcoin wallets, over

  which Craig now asserts ownership. Id. at ¶ 65.

             A. Bitcoin

         On October 31, 2008, a white paper authored under the pseudonymous name

  Satoshi Nakamoto (the “Satoshi White Paper”) titled Bitcoin: A Peer-to-Peer Electronic

  Cash System was posted to a mailing list of cryptography enthusiasts. Id. at ¶ 30. This

  paper detailed novel methods of using a peer-to-peer network to generate what it

  described as “a system for electronic transactions without relying on trust.” Id. In May

  of 2016, Craig publicly claimed that he and Dave were the creators of Bitcoin. Id. at ¶

  16. Bitcoin is a decentralized digital currency that uses a ledger to track the ownership

  and transfer of every bitcoin in existence. Id. at ¶ 20. This ledger is called the “Bitcoin

  Blockchain.” Id. In order to complete a transaction with bitcoins, you must have a

  bitcoin wallet. Id. at ¶ 21. “Wallets” are computer files dedicated to storing bitcoin

  information. Id. Each bitcoin wallet has a “public key” that is used as the “address” to

  receive bitcoin from others. Id. Each wallet is also assigned a “private key.” Id. at ¶ 22.

  To send bitcoin out of a wallet, an individual must have the private key associated with

  that bitcoin wallet. Id.

         There are two methods of acquiring bitcoins. The first is simply receiving bitcoins

  from someone. Id. at ¶ 23.     The second way one can acquire a bitcoin is by “mining”

  them. Id. at ¶ 24. Bitcoin is designed without a centralized authority to curate the

  blockchain. Id. at ¶ 25. Therefore, “mining” is a process through which anyone with



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  internet access can update the ledger and “mine bitcoins” by employing computer power

  to solve a complex computer problem. Id. at ¶ 26. The first “miner” who solves the

  problem gets the right to update the ledger by adding a block of recent transactions to the

  blockchain. Id. The protocol pays the successful miner in newly minted bitcoins, the

  number of which is determined by a pre-existing algorithm. Id.

         Since its beginning, Bitcoin has inspired the creation of over one thousand other

  digital currencies. Id. at ¶ 37. These new currencies often borrow from the initial Bitcoin

  program but make changes to the model in an attempt to create a new cryptocurrency

  with distinct functions or more suited to a specific market or niche. Id. In other cases,

  Bitcoin has been modified by individuals in a way they believed would improve the

  Bitcoin itself, such as by allowing more transactions into a single block of blockchain.

  Id. at ¶ 38. In these situations, the supporters of the new Bitcoin, have created a “fork”

  through which the original Bitcoin blockchain/ledger is divided into two distinct, but

  identical, copies, (i) the original Bitcoin, and (ii) the new Bitcoin. Id. at ¶ 39. The result

  is that any individual who owned the original Bitcoin now owns an identical amount of

  the new Bitcoin. Id.

             B. W&K Info Defense Research, LLC

         On February 14, 2011, Dave formed W&K Info Defense Research LLC

  (“W&K”) in Florida. Id. at ¶ 69. The Articles of Incorporation for W&K list Dave as

  the managing member and registered agent. Id. Dave and Craig allegedly created W&K

  to mine bitcoin and develop intellectual property. Id. at ¶ 72. W&K has no operating

  agreement, and Plaintiffs claim that due to receiving several conflicting statements from

  Craig, they are not certain of the exact ownership structure of W&K. Id. at ¶ 70. Dave, in



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  partnership with Craig, created intellectual property both in his individual capacity and

  through W&K. Id. at ¶ 66. Plaintiffs assert that the Estate and/or W&K own all of this

  intellectual property. Id.

         W&K was used to solicit business from the United States Department of

  Homeland Security (“DHS”). Id. at ¶ 76. Craig acted in many different capacities on

  behalf of W&K, including authorized representative, lead researcher, technical contact,

  legal agent and representative and Director/Australian Agent. Id. at ¶ 77. Craig also

  used W&K’s Florida address as his mailing address associated with W&K. Id.

             C. Dave Kleiman’s Death

         Dave passed away in April of 2013. Id. at ¶ 48. The Amended Complaint alleges

  that after Dave’s death, Craig unlawfully and without permission took control of the

  bitcoins from the Estate and from W&K once he had exclusive possession over the

  private keys necessary to own, move, or sell the bitcoins belonging to Dave and/or

  W&K. Id. at ¶ 111. Craig used the private keys that Dave and Craig shared to move the

  bitcoins out of their wallets and then claimed to own bitcoins really owned by W&K

  and/or Dave by creating a series of fraudulent contracts and documents. Id. Craig then

  moved the stolen bitcoin into trusts only known and controlled by him for use in

  making large trades for his Australian businesses. Id. While the exact number of

  bitcoins stolen remains to be determined, the Amended Complaint contends that the

  Estate is entitled to at least 300,000 bitcoins, along with their forked assets. Id. at ¶ 112.

             D. The Australian Judgments

         After Dave’s death, in July and August of 2013, Craig filed two claims in the

  Supreme Court of New South Wales against W&K for approximately $28 million each.



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  Id. at ¶ 117. In both claims, Craig alleged that W&K agreed to pay Craig for property and

  consulting services necessary to “complete research,” and that this contract was “bonded

  against the intellectual property of [W&K].” Id. at ¶ 118. In his pleadings filed before

  the Australian courts, Craig claimed that any breach of contract “would lead to liquidated

  damages [and if] the liquidated amount is not paid all IP systems returns to the sole

  ownership of [Craig].” Id. The statements of claim alleged that the intellectual property

  at issue was the “software and code used in the creation of a Bitcoin system” and “used

  by the US Military, DHS and other associated parties.” Id. Plaintiffs claim that W&K

  was never served with process for these proceedings in Australia. Id. at ¶ 119.

         In both lawsuits, Craig filed an “Acknowledgment of Liquidated Claim” on

  behalf of W&K where he represented that W&K accepted and agreed to his claims.

  Id. at ¶ 120. In the Australian court filings, Craig apparently falsely identified himself as

  the “legal agent and representative for the defendant” and its “Director/Australian

  Agent.” Id. Further, he falsely identified his Australian address and email as the

  “address for service” for W&K. Id. On August 28, 2013, Craig filed proposed consent

  orders in both cases. Id. at ¶ 121. These filings represented to the Australian courts that

  W&K consented to judgment being entered against it through the signature of its

  “authorised officer . . . J Wilson.” Id. “J Wilson” was actually Craig’s employee and was

  not an authorized officer for W&K. Id. Although Craig did not have direct or voting

  interest in W&K, Craig “elected” Wilson as a director during a “shareholder meeting”

  where only Craig was present. Id. at ¶ 122. On November 6, 2013, the Supreme Court

  of New South Wales entered judgments in favor of Craig for both claims (the

  “Australian Judgments”). Id. at ¶ 130.



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             E . The Australian Tax Office Investigation

         Sometime after Dave’s death, the Australian Tax Office (“ATO”) began

  investigating Craig. Plaintiffs claim Craig needed to use W&K and Dave’s assets to

  justify tax positions he claimed in Australia. Id. at ¶ 96. To accomplish this, Craig

  forged and backdated several contracts to create a fraudulent “paper trail” purporting to

  show that Dave transferred bitcoins and intellectual property rights belonging to Dave

  and W&K to Craig. Id. at ¶ 97.

         During the course of that investigation, the ATO conducted several meetings with

  Craig and his counsel in Australia, where Craig allegedly told the ATO officials that he

  had rightfully taken ownership of Dave’s bitcoin upon his death. Id. at ¶¶ 82-84.

  During one of these meetings with the ATO, Craig’s counsel indicated that W&K’s

  bitcoins had been transferred into trusts located in Seychelles, Singapore, and the

  United Kingdom. Id. at ¶ 84.

         Craig’s attorney further represented to the ATO officials that intellectual

  property that had been acquired by Craig from W&K was “on-supplied to the Craig

  Family Trust and then broken up and transferred to other group entities, Hotwire, Coin

  Exchange . . . and so on.” Id. at ¶ 131. Craig then provided the fraudulent contracts to

  the ATO in an attempt to substantiate his ownership of bitcoins and intellectual property

  that had originally belonged to Dave and/or W&K. Id. at ¶ 89.

             F. The ATO Contacts the Kleiman Family

         On February 11, 2014, the Amended Complaint alleges that with the “ATO closely

  auditing Craig’s activities,” Craig grew concerned that the ATO would eventually contact

  the Kleiman family. Id. at ¶¶ 132-133. Craig decided to contact the Kleiman family



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  before the ATO did. Id. at ¶ 132. Craig reached out via email to Dave’s elderly father.

  Id. at ¶ 133. He initially instructed him to save any wallet files found on Dave’s computer

  and indicated that he would give additional information at a later date. Id. Craig also

  represented that he was not seeking “anything other than to give [Dave’s father]

  information about [his] son,” and that he would help the Estate “recover what Dave

  owned.” Id. Ira Kleiman (“Ira”), Dave’s brother, took over the correspondence with

  Craig. Id. at ¶ 134.

         Craig told Ira that he was partners with Dave and no one knew about their

  collaboration or W&K. Id. at ¶ 135. Craig explained to Ira that W&K was involved in

  Bitcoin mining and that it was very successful. Id. Craig revealed that he and Dave were

  planning on starting a new company together called “Coin-Exch.” Id. at ¶ 136. Craig

  told Ira that the Estate would receive shares in the new company “worth millions.” Id.

         On March 28, 2014, W&K was reinstated by Craig’s agent, Uyen Nguyen

  (“Uyen”). Id. at ¶ 139. Uyen removed Dave as the registered agent for W&K and listed

  herself instead. Id. She then added herself as manager and secretary and an entity named

  “Coin-Exch Pty Ltd” as director.     Id. Although he was in regular contact with them,

  Craig concealed the reinstatement of W&K from the Estate. Id. at ¶ 140.

         In April of 2014, Ira first learned of the Australian Judgments, when an ATO

  auditor sent him some of the Australian court documents. Id. at ¶ 123. The auditor

  provided Ira copies of the allegedly fraudulent documents given to the ATO by Craig.

  Id. at ¶¶ 123, 141-142.

         The ATO provided Ira with three deeds, each titled “IP Deed of

  Assignment” and each executed on September 15, 2013. Id. at ¶ 142. Each of these IP



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  Deeds of Assignments assigned various intellectual property rights from an Australian

  company named “DeMorgan Ltd” to three separate Australian entities: Coin-Exch Pty,

  Ltd., Hotwire Preemptive Intelligence Pty, Ltd., and Cloudcroft Pty, Ltd. Id. The deeds

  described the source and nature of the IP as consisting of “source code, algorithms and

  patentable materials that have been obtained by Craig . . . through the following

  unrelated entities . . . [W&K].” Id. at ¶ 143.

             G. Ira Confronts Craig

         On April 22, 2014, Ira confronted Craig about the documents he had received

  from the ATO via email. Id. at ¶ 144. Ira told Craig that after reviewing the documents

  sent to him by the ATO, he “felt like there [were] questionable discrepancies in the

  contracts between [Craig] and W&K such as Dave’s signatures, his resignation, transfer of

  all accountable value.”    Id. Craig responded that his actions were taken “to make sure

  that the court signed off on what Dave and [he] planned,” and Craig then promised Ira

  that the Estate could be paid what was owed to it. Id. at ¶ 145.

         On April 25, 2014, Craig sent Ira a chronology of his activities related to W&K

  and the development of its intellectual property. Id. at ¶ 147. In this document, Craig

  wrote “[t]here is a lot of IP and ‘stuff’ in the mix. All up, it’s around a hundred

  million dollars’ worth. This IP originates in work CSW has been doing for more than

  10 years; it originates in things that came from W&K; it has to do with the software

  acquired. The values and distribution . . . amounts to a third each for Cloudcroft,

  Hotwire, and Coin exch.” Id.

         Craig’s promise to Ira of the multi-million dollar payment never came true. Id.

  at ¶ 149. Craig blamed any delay on the ATO investigation and kept promising Ira he



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  would see value when the investigation closed. Id. By October 9, 2015, Craig essentially

  stopped responding to Ira’s attempts to contact him. Id. at ¶ 150.

         The ATO raided Craig’s home in late 2015 and Craig fled Australia for

  London. Id. at ¶ 16. Craig currently serves as Chief Scientist of a UK company called

  nChain in London. Id. at ¶ 158. In 2016, Craig filed dozens of patents related to

  bitcoin and blockchain technology through nChain. Id. To date, neither the Estate nor

  W&K has received the assets allegedly belonging to them as a result of Dave’s early

  involvement in bitcoin and bitcoin mining. Id. at ¶ 159.

         The Defendant seeks to dismiss Plaintiffs’ Amended Complaint on several

  grounds, including lack of standing, the failure to bring this action as a derivative suit, res

  judicata, forum non conveniens, the expiration of the applicable statute of limitations,

  international abstention, lack of personal jurisdiction and the failure to state legally

  sufficient claims. ECF No. [33].

   II.   LEGAL STANDARD

         Rule 8 of the Federal Rules of Civil Procedure requires that a pleading contain “a

  short and plain statement of the claim showing that the pleader is entitled to relief.” Fed.

  R. Civ. P. 8(a)(2). Although a complaint “does not need detailed factual allegations,” it

  must provide “more than labels and conclusions, and a formulaic recitation of the

  elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

  (2007); see Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (explaining that Rule 8(a)(2)’s

  pleading standard “demands more than an unadorned, the-defendant-unlawfully-harmed-

  me accusation”). In the same vein, a complaint may not rest on “‘naked assertion[s]’

  devoid of ‘further factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550



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  U.S. at 557 (alteration in original)). “Factual allegations must be enough to raise a right

  to relief above the speculative level.” Twombly, 550 U.S. at 555. These elements are

  required to survive a motion brought under Rule 12(b)(6), which requests dismissal for

  “failure to state a claim upon which relief can be granted.”

         When reviewing a motion under Rule 12(b)(6), a court, as a general rule, must

  accept the plaintiff’s allegations as true and evaluate all plausible inferences derived from

  those facts in favor of the plaintiff. See Miccosukee Tribe of Indians of Fla. v. S.

  Everglades Restoration Alliance, 304 F.3d 1076, 1084 (11th Cir. 2002); AXA Equitable

  Life Ins. Co. v. Infinity Fin. Grp., LLC, 608 F. Supp. 2d 1349, 1353 (S.D. Fla. 2009).

  However, this tenet does not apply to legal conclusions, and courts “are not bound to

  accept as true a legal conclusion couched as a factual allegation.” Twombly, 550 U.S. at

  555; see Iqbal, 556 U.S. at 678; Thaeter v. Palm Beach Cnty. Sheriff’s Office, 449 F.3d

  1342, 1352 (11th Cir. 2006). Moreover, “courts may infer from the factual allegations in

  the complaint ‘obvious alternative explanations,’ which suggest lawful conduct rather

  than the unlawful conduct the plaintiff would ask the court to infer.” Am. Dental Ass’n v.

  Cigna Corp., 605 F.3d 1283, 1290 (11th Cir. 2010) (quoting Iqbal, 556 U.S. at 682).

  III.   ANALYSIS

         As stated supra, the Defendant moves to dismiss Plaintiffs’ Amended Complaint

  on several grounds. The Court addresses Defendant’s arguments in turn.

         A. Standing

         Defendant argues that only W&K has standing to maintain an action for the

  recovery of intellectual property created or bitcoins mined after February 2011 because

  the “amended complaint makes clear that Dave Kleiman’s alleged business relationship



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  was conducted through W&K,” and thus the Estate itself lacks standing to bring claims

  relating to these assets created during this time.     ECF No. [33], at 12.      Secondly,

  Defendant claims that Plaintiffs lack standing because they failed to adequately allege the

  existence of a 2008 to 2011 partnership between the Defendant and Dave. Id. The Court

  is unpersuaded by both arguments.

         “Standing for Article III purposes requires a plaintiff to provide evidence of an

  injury in fact, causation and redress[a]bility.” Dermer v. Miami-Dade Cty., 599 F.3d

  1217, 1220 (11th Cir. 2010) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61

  (1992)). Specifically, “[t]o have standing, a plaintiff must show (1) he has suffered an

  injury in fact that is (a) concrete and particularized and (b) actual or imminent, not

  conjectural or hypothetical; (2) the injury is fairly traceable to conduct of the defendant;

  and (3) it is likely, not just merely speculative, that the injury will be redressed by a

  favorable decision.” Kelly v. Harris, 331 F.3d 817, 819-20 (11th Cir. 2003); see Bochese

  v. Town of Ponce Inlet, 405 F.3d 964, 980 (11th Cir. 2005) (same).

         Defendant claims that “[n]owhere does Plaintiff allege that Dave Kleiman had a

  direct, personal partnership with Dr. Wright from February 2011 until his death in April

  2013.” ECF No. [33], at 12. The Amended Complaint, however, includes allegations that

  Dave personally partnered with the Defendant (after 2011) to create the assets at issue in

  this lawsuit. For example, the Amended Complaint alleges that “[f]rom [Dave and

  Craig’s] collaboration in 2008 until Dave’s death in 2013, Craig and Dave mined over a

  million of the initial bitcoins together (personally and through W&K). Id. at ¶ 65

  (emphasis added). The Amended Complaint also alleges that “Dave, in partnership with

  Craig, created intellectual property both in his individual capacity and through W&K.”



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  Id. at ¶¶ 65-66 (emphasis added). Taking these allegations as true, as the Court must do

  for the purposes of analyzing the Motion to Dismiss, the Court finds that the Estate has

  sufficiently alleged that it sustained an injury for the loss of intellectual property and

  bitcoin, created and mined after February 2011, and therefore would have standing to

  bring claims for these assets.

          Defendant also claims that Plaintiffs failed to adequately allege the existence of a

  partnership between the Defendant and Dave Kleiman. ECF No. [33], at 13. Fla. Stat. §

  620.8202(1) states that “the association of two or more persons to carry on as co-owners

  a business for profit forms a partnership, whether or not the persons intend to form a

  partnership.” A party attempting to prove the existence of a partnership has the burden of

  demonstrating the satisfaction of the elements. Kislak v. Kreedian, 95 So. 2d 510, 515

  (Fla. 1957).    The Court notes that the statutory language does not require that a

  partnership be reduced to writing. 1

          Consistent with Fla. Stat. § 620.8202(1), the Amended Complaint alleges that

  “Craig and Dave associated to carry on as co-owners of a business for profit to create

  Bitcoin, mine bitcoins, and create other block chain intellectual property.” ECF No. [24],

  at ¶ 197. Further, the Defendant is alleged to have expressly admitted to having engaged

  in this partnership with Dave. Id. at ¶ 63. The Amended Complaint also alleges that the

  Defendant and Dave, starting in 2008 through 2013, partnered together to research and

  1
    Defendant also argues that because the “alleged oral “partnership” agreement was not reduced
  to writing [it] is barred by the statute of frauds.” ECF No. [33], at 14. Defendant’s sole factual
  support is the fact that the partnership between Dave and the Defendant was alleged to have
  lasted longer than two years. Id. The fact that a partnership lasts longer than one year does not
  mean that the parties originally “intended and contemplated that performance of the agreement
  would take longer than one year.” Yates v. Ball, 132 Fla. 132, 181 So. 341, 344 (1937). Here,
  after a close review of the Amended Complaint, the Court cannot, as a matter of law, conclude
  that the terms of the oral partnership agreement, as pled, originally contemplated an agreement to
  be performed beyond one year.
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  complete a paper about bitcoin, and to help get the idea “operational.” Id. at ¶¶ 55-56.

  Accordingly, the Court concludes that Plaintiffs have sufficiently alleged a partnership

  existed between Dave and the Defendant for the purposes of a Motion to Dismiss.

         B. Derivative Suit

         Defendant also argues that the Amended Complaint should be dismissed because

  Plaintiffs’ claim should have been brought as a derivative suit. See ECF No. [33], at 15.

  Defendant, however, has not provided the Court with any factual or legal analysis of how

  this principle may apply to the case at hand. See Anderson v. Branch Banking & Tr. Co.,

  119 F. Supp. 3d 1328, 1345 (S.D. Fla. 2015) (“A litigant who fails to press a point by

  supporting it with pertinent authority, or by showing why it is sound despite a lack of

  supporting authority or in the face of contrary authority, forfeits the point. [The Court]

  will not do his research for him.”) (citing Pelfresne v. Vill. of Williams Bay, 917 F.2d

  1017, 1023 (7th Cir. 1990) (Posner, J.)). Accordingly, this argument is denied.

         C. Res Judicata

         Next Defendant argues that W&K’s claims arising from the Defendant’s alleged

  possession of the intellectual property is barred by the doctrine of res judicata because

  ownership of the intellectual property was already decided by the Supreme Court of New

  South Wales. ECF No. [33], at 16. A final judgment or order on the merits operates as

  res judicata in a subsequent proceeding between the parties on the same cause of action.

  Albrecht v. State, 444 So.2d 8 (Fla. 1984); O’Brien v. Brickell Townhouse, Inc., 439 So.

  2d 982 (Fla. 3d DCA 1983); Sanchez v. Martin, 416 So. 2d 15 (Fla. 3d DCA 1982). The

  doctrine of collateral estoppel, or issue preclusion, like res judicata, requires the existence




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  of a “final judgment on the merits” as a necessary element. Papa John’s International,

  Inc. v. Cosentino, 916 So. 2d 977 (Fla. 4th DCA 2005).

         Here, the prior judgments at issue and that form the basis of Defendant’s res

  judicata defense are the Australian Judgments. The Australian Judgments were rendered

  subsequent to the Defendant’s filing of the two consent orders in the two Australian

  lawsuits.   ECF No. [24], at ¶ 121.     These filings, which are alleged to have been

  submitted without authorization, represented to the Australian courts that W&K

  consented to the judgment being entered against it. Id. Plaintiffs have attached the

  “record of proceedings” for both of the Australian lawsuits to its Amended Complaint.

  ECF No. [24-22]. From a review of the record of proceedings the Court cannot readily

  determine what issues were decided by the Supreme Court of New South Wales in

  rendering the Australian Judgments. A court may not dismiss a claim on res judicata

  grounds where it is not apparent from the face of the order that it was issued as a final

  judgment on the merits of the case. See Papa John’s International, Inc. v. Cosentino, 916

  So. 2d 977, 984 (Fla. 4th DCA 2005) (finding that the circuit court erred in dismissing a

  plaintiff’s claims where pleading did not demonstrate on its face that a consent order

  issued in a prior case was a final judgment on the merits of the claims). Here, the “record

  of proceedings” state only that money judgments have been entered in “favour of [Craig

  Wright],” and further noting “the agreement of the parties that [Craig Wright] will accept

  transfer of the intellectual property held by the plaintiff in full satisfaction of the

  judgment.” ECF No. [24-22], at 4-5, 8. Ambiguity of a record that there was a final

  judgment on the merits covering a party’s claims precludes dismissal on res judicata

  grounds.    See generally, Papa John’s International, Inc., 916 So. 2d at 984.       Here,



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  Defendant’s argument for dismissal on res judicata grounds must fail because it is not

  clear from a review of the record that the Australian Judgments were decided by the

  Australian court on the merits of the case. In order for a court to dismiss a party’s claims

  on the grounds of res judicata, the necessary element of a “final judgment on the merits”

  must be met.

         Additionally, the Florida Supreme Court has held that res judicata does not apply

  when its application would defeat the ends of justice. deCancino v. E. Airlines, Inc., 283

  So. 2d 97, 98 (Fla. 1973) (“the doctrine will not be invoked where it will work an

  injustice.”). Here, the Plaintiffs assert, and the Defendant allegedly admitted, that the

  Australian lawsuits were initiated by the Defendant in an attempt to “make sure the court

  signed off on what Dave and [Craig] planned.” ECF Nos. [24]. at ¶ 123, [24-20], at 18.

  The Plaintiffs also contend that they were never served with process that these suits were

  underway. Id. at ¶ 119. In light of these facts, it would be an injustice to the Plaintiffs to

  allow the doctrine of res judicata to be invoked. Accordingly, the Court declines to

  dismiss Plaintiffs’ claims on res judicata grounds.

         D. Forum Non Conveniens

         Defendant argues that in the event the Court finds that the Plaintiffs have standing

  and that their claims are not barred by the doctrine of res judicata, dismissal would still

  be required on forum non conveniens grounds. The doctrine of forum non conveniens

  permits a court to decline to exercise jurisdiction when the convenience of the parties and

  the interests of justice weigh in favor of trying the action in an alternative forum. Piper

  Aircraft Co. v. Reyno, 454 U.S. 235, 241, 102 S. Ct. 252, 70 L.Ed.2d 419 (1981).

  Analytically, the court’s examination is three-pronged. Id. When moving to dismiss a



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  case on forum non conveniens grounds, the movant must show: (1) the availability of an

  alternative and adequate forum; (2) that public and private factors weigh in favor of

  dismissal; and (3) that the plaintiff can reinstate his suit in the alternative forum. See

  Leon v. Millon Air, Inc., 251 F.3d 1305, 1311 (11th Cir. 2001).

         The Supreme Court has “characterized forum non conveniens as essentially, ‘a

  supervening venue provision, permitting displacement of the ordinary rules of venue

  when, in light of certain conditions, the trial court thinks that jurisdiction ought to be

  declined.’” Sinochem Int’l Co. Ltd. v. Malaysia Int’l Shipping Corp., 549 U.S. 422, 429

  (2007) (quoting Am. Dredging Co. v. Miller, 510 U.S. 443, 453 (1994)). “The doctrine of

  forum non conveniens permits a court with venue to decline to exercise its jurisdiction

  when the parties’ and court’s own convenience, as well as the relevant public and private

  interests, indicate that the action should be tried in a different forum.” Pierre-Louis v.

  Newvac Corp., 584 F.3d 1052, 1056 (11th Cir. 2009). “This tool ‘is to be favored’ for

  ensuring that federal courts only hear ‘those cases where contacts with the American

  forum predominate.’” Aldana v. Fresh Del Monte Produce, Inc., No. 01-3399-CIV, 2007

  WL 3054986, at *3 (S.D. Fla. Oct. 16, 2007), aff’d sub nom, Aldana v. Del Monte Fresh

  Produce N.A., Inc., 578 F.3d 1283 (11th Cir. 2009) (quoting Sigalas v. Lido Maritime,

  Inc., 776 F.2d 1512, 1519 n.10 (11th Cir. 1985)).

         The defendant invoking forum non conveniens “bears a heavy burden in opposing

  the plaintiff’s chosen forum.” Sinochem Int’l Co. Ltd., 549 U.S. at 430. In fact, at the

  outset, the scale tips in favor of a plaintiff’s chosen forum when the plaintiff is a domestic

  citizen. Duha v. Agrium, Inc., 448 F.3d 867, 874–75 (6th Cir. 2006). There is a strong

  presumption by the Supreme Court that forum non conveniens should only be employed



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  in “exceptional circumstances” and that “unless the balance is strongly in favor of the

  defendant, the plaintiff’s choice of forum should rarely be disturbed.” Gulf Oil Corp. v.

  Gilbert, 330 U.S. 501, 508 (1947). The general rule, therefore, is that dismissal for forum

  non conveniens is proper only when a defendant “establish[es] such oppressiveness and

  vexation . . . as to be out of all proportion to plaintiff’s convenience, which may be

  shown to be slight or nonexistent.” Koster v. (Am.) Lumbermens Mut. Cas. Co., 330 U.S.

  518, 524 (1947). To the extent that courts consider matters outside the complaint, courts

  must “draw all reasonable inference and factual conflicts in favor of the plaintiff.” OOO-

  RM Invest v. Net Element Int’l, Inc., No. 14-20903-CIV, 2014 WL 12613283, at *2–3

  (S.D. Fla. Nov. 3, 2014) (citing Webster v. Royal Caribbean Cruises, Ltd., 124 F. Supp.

  2d 1317, 1320 (S.D. Fla. 2000) and Wai v. Rainbow Holdings, 315 F. Supp. 2d 1261,

  1268 (S.D. Fla. 2004)).

                 i.     Availability and Adequacy of an Alternative Forum

         “Availability and adequacy warrant separate consideration.” Leon v. Million Air,

  Inc., 251 F.3d 1305, 1311 (11th Cir. 2001). Ordinarily, an alternative forum is available

  simply “when the defendant is amenable to process in the other jurisdiction.” Piper, 454

  U.S. at 255 n.22 (internal citation omitted). If the remedy offered in the other forum is

  unsatisfactory, this requirement may not be satisfied. See Id. “[T]he Supreme Court has

  instructed us that a remedy is inadequate when it amounts to ‘no remedy at all.’” Aldana,

  578 F.3d at 1290 (quoting Piper, 454 U.S. at 254).

         Defendant’s sworn declarations of Gordon Grieve (“Grieve”), 2 a lawyer admitted

  to practice in Australia, state that claims raised by Plaintiffs in the Amended Complaint


  2
   The declarations of Gordon Grieve, ECF No. [33-1] and [33-2], are appropriately considered
  when determining a motion to dismiss based on the doctrine of forum non conveniens. Ochoa v.
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  may be filed in Australia if they are dismissed by this Court. See ECF No. [33-2], at ¶ 5.

  The Defendant also filed an affidavit in which he affirmed that he was amenable to

  service of process for litigation in New South Wales. ECF No. [33-3], at ¶ 23. Because

  the Court finds that Defendant is susceptible to suit in Australia, the “availability” prong

  is satisfied. See Aldana, 578 F.3d at 1290 (“In order to be available, the foreign court

  must be able to assert jurisdiction over the litigation sought to be transferred.”). The

  “adequacy” consideration is similarly satisfied because all of Plaintiffs’ claims are

  cognizable under Australian law. See ECF No. [33-2], at ¶ 5. Even when an alternate

  forum is available, however, the defendant still maintains a heavy burden in

  demonstrating the offsetting disadvantage to litigating in the plaintiff’s chosen forum.

                  ii.     Private Interest Factors

          Once an adequate alternative forum has been established, the Supreme Court has

  directed district courts to consider the “private interest of the litigant.” Gulf Oil Corp. v.

  Gilbert, 330 U.S. 501, 508, 67 S. Ct. 839, 91 L.Ed. 1055 (1947). If the court finds that

  private factors favor dismissal, the Court then determines whether or not factors of public

  interest tip the balance in favor of a trial in a foreign forum. La Seguridad v. Transytur

  Line, 707 F.2d 1304, 1307 (11th Cir. 1983). The private interest factors a court may

  consider in its forum non conveniens analysis include (1) ease of access to sources of

  proof and evidence; (2) availability and costs of obtaining willing and unwilling

  witnesses, and (3) “all other practical problems that make trial of the case easy,

  expeditious and inexpensive.” Id. When plaintiffs are “citizens, residents, or corporations


  Empresas ICA, S.A.B. de C.V., Case No. 11-CIV-23898, 2013 WL 5674697 at *4 (S.D. Fla. Oct.
  17, 2013) (relying on sworn declarations attached to a motion to dismiss of foreign attorneys in
  forum non conveniens analysis). Plaintiff has not filed any expert declaration opining on foreign
  law in opposition to Defendant’s Motion.
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  of this country,” the Eleventh Circuit mandates that a district court “‘require positive

  evidence of unusually extreme circumstances, and should be thoroughly convinced that

  material injustice is manifest before exercising any such discretion as may exist to deny a

  United States citizen access to the courts of this country.’” SME Racks, Inc. v. Sistemas

  Mecanicos Para Electronica, S.A., 382 F.3d 1097, 1101–02 (11th Cir. 2004); see also La

  Seguridad, 707 F.2d at 1308 n.7.

         The deference given to a plaintiff’s choice of forum is especially strong in the

  Eleventh Circuit. Here, both Plaintiffs are residents of Florida and citizens of the United

  States. Therefore this Court gives Plaintiffs’ choice of forum a high level of deference

  and presumption of convenience. See TNT USA, Inc. v. TrafiExpress, S.A. de C.V., 434

  F. Supp. 2d 1322, 1333 (S.D. Fla. 2006). Defendant claims that several factors weigh in

  favor of dismissal on forum non conveniens grounds, including the fact that Defendant’s

  alleged conduct took place in Australia, that a number of witnesses may be in Australia

  (or abroad), and that Australian law may have to be analyzed. Additionally, the

  Defendant argues that “this Court could not properly adjudicate any of [Plaintiffs’] claims

  without disregarding, disrespecting, and undermining the Australian court that rendered

  the Australian Judgments,” and that this factor weighs heavily in favor of dismissal. ECF

  No. [33], at 24.

         As an initial matter, the Defendant is correct that this Court cannot invalidate or

  void the Australian Judgments, as it is without authority to do so. And the Defendant is

  also correct that the appropriate forum to address fraud on the court, would be the court

  in which the Plaintiffs claim the fraud was to have occurred. Tr. Int’l Corp. v. Nagy, No.

  15-80253-CIV, 2017 WL 5248425, at *6 (S.D. Fla. Mar. 28, 2017) (finding that if a



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  defendant has used a foreign legal system in some way “which was not above board,”

  then the foreign forum was the correct place to address this concern.).          However,

  Plaintiffs have asserted that the Australian judgments, if valid, only transferred title to

  some of the intellectual property at issue in this case. ECF No. [50], at 30. Therefore,

  even if this Court found that the Australian Judgments somehow barred some of the

  Plaintiffs’ claims the “maximum preclusive effect would only bar Plaintiffs claims to

  W&K’s intellectual property, leaving the overwhelming majority of Plaintiffs’ claims. . .

  pending before this Court.” Id. To the extent that independent claims exist, there is no

  reason why this forum would not be the proper forum to adjudicate them. Moreover,

  while this Court does not have authority to invalidate the Australian Judgments, it can

  make a factual finding as to whether the contractual agreements used by the Defendant in

  procuring the Australian Judgments were fraudulent. Therefore, this Court finds that the

  existence of the Australian Judgments is not an “unusual and extreme factor” warranting

  dismissal on forum non conveniens grounds. La Seguridad, 707 F.2d at 1308 n.7.

         The Court continues its forum non conveniens analysis by considering whether

  sources of proof are accessed with relative ease in Plaintiffs’ chosen forum, “[p]erhaps

  the most important ‘private interest’ of the litigants is access to evidence.” Ford v.

  Brown, 319 F.3d 1302, 1308 (11th Cir. 2003). The ease of access to sources of evidence

  in this case is another factor weighing in the Plaintiffs’ favor. The Defendant claims that

  the majority of evidence relevant to this action is located abroad.        The Plaintiffs,

  however, argue that the “majority of the witnesses and evidence necessary to prove the

  factual issues “at the core of Plaintiff’s claims,” are located in Florida and the United

  States.” ECF No. [50], at 19.



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          In their opposition to Defendant’s Motion, the Plaintiffs identified nine witnesses

  located in Florida alone and another five witnesses located in the United States that they

  claim will assist in the establishment of the core facts of their claim.             Id. at 20.

  Conversely, the Defendant claims many his witnesses are located in Australia or abroad. 3

  ECF No. [33], at 22-23. Nonetheless, the presence of witnesses outside of the United

  States is insufficient to overcome the strong presumption afforded to domestic

  plaintiffs. Ward v. Kerzner International Hotels Ltd., 2005 WL 2456191 at *3 (S.D. Fla.

  Mar. 30, 2005); Aldana, 578 F.3d at 1293; Esfeld v. Costa Crociere, S.P.A., 289 F.3d

  1300, 1303 (11th Cir.2002)(“[F]ederal courts, in the forum non conveniens context, do

  not focus on the connection between the case and a particular state, but rather on the

  connection of the case to the United States as a whole.”).

          Additionally, Defendant argues that the relevant witnesses and evidence related to

  this case are located in Australia and/or are confidential and protected from disclosure

  under Australian law, and thus not subject to the compulsory process of this forum. ECF

  No. [33], at 23. Plaintiffs claim that much of the evidence the Defendant has identified as

  foreign “can be displayed and printed from a computer with an Internet connection . . .

  [or] are in [Defendant’s] own records, his agent’s records, or are records he can easily

  obtain or view in Florida.”       ECF No. [50], at 24.         These documents include the

  documents from the ATO investigation, the Australian court filings, and documents in the

  possession of the Defendant and/or his Australian companies. The Court agrees with the

  Plaintiffs that much of this evidence that the Defendant asserts is beyond the compulsory

  process of this Court, is under the direct control of the Defendant. The Defendant does

  3
    Not even the Defendant himself is located in Australia, as he has since relocated to the United
  Kingdom. ECF No. [24], at ¶ 3. The Court notes that the United Kingdom is in closer proximity
  to the United States than to Australia.
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  not need compulsory process to compel the testimony of his own agents or employees.

  Wagner, 984 F. Supp. 2d at 1315 (foreign witnesses insufficient to overcome strong

  presumption because they were “at least arguably associated with or employees of

  [defendant]”); Ward, 2005 WL 2456191, at *1 (foreign witnesses insufficient to override

  strong presumption because they were defendant’s “own agents and employees”); TNT

  USA Inc., 434 F. Supp. 2d at 1334 (no dismissal because foreign witnesses are “under the

  control” of defendant); Doe v. Sun Int’l Hotels, Ltd., 20 F. Supp. 2d 1328, 1330 (S.D. Fla.

  1998) (no dismissal because “key defense witnesses are employees of the defendant”).

         Further, in today’s advanced technological age the exchange of electronically

  stored evidence is not unduly burdensome, and the Court is confident that much of the

  evidence identified as foreign “can be displayed and printed from a computer with an

  Internet connection.” TNT USA, 434 F. Supp. 2d at 1334; see also City Pension Fund for

  Firefighters and Police Officers in City of Miami Beach v. Aracruz Cellulose S.A., 41 F.

  Supp. 3d 1369, 1411 (S. D. Fla. 2011) (dismissal denied because “[a]lthough the majority

  of proof may be located in Brazil, many of the documents and records are likely

  electronically stored and can easily be transferred.”).

         This Court finds that the Defendant has not satisfied his burden of setting forth

  “positive evidence of unusually extreme circumstances” sufficient to overcome the strong

  presumption in favor of Plaintiffs’ choice of forum. Ward, 2005 WL 2456191, at

  *4. Defendant fails to provide arguments that “material injustice is manifest” such that

  the Court should be compelled to deny the Plaintiffs their access to United States courts.

  The Court therefore finds that the private interest factors weigh against granting dismissal

  on the grounds of forum non conveniens.



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                 iii.    Public Interest Factors

         In the Eleventh Circuit, “[a] trial court will look at the private interests first and

  then, if the balance of the private interests are found ‘to be in equipoise or near

  equipoise,’ it will ‘determine whether or not factors of public interest tip the balance in

  favor of a trial in a foreign forum.’” King v. Cessna Aircraft Co., 562 F.3d 1374, 1382

  (11th Cir. 2009) (quoting La Seguridad, 707 F.2d at 1307). This Court has concluded

  that the private interest factors do not align in favor of Defendant’s position for dismissal

  on forum non conveniens grounds and are thus not in equipoise. Nonetheless, the public

  interest factors also weigh againsts dismissal. The Supreme Court has advised that the

  public factors for this Court’s consideration are:

                 [T]he administrative difficulties flowing from court
                 congestion; the local interest in having localized
                 controversies decided at home; the interest in having the
                 trial of a diversity case in a forum that is at home with the
                 law that must govern the action; the avoidance of
                 unnecessary problems in conflict of laws, or in the
                 application of foreign law; and the unfairness of burdening
                 citizens in an unrelated forum with jury duty.

  Piper Aircraft Co., 454 U.S. at 241 n.6 (internal quotations omitted).

         Further, in SME Racks, Inc. v. Sistemas Mecanicos Para Electronica, S.A., the

  Eleventh Circuit Court of Appeals made clear that the “United States has a strong interest

  in providing a forum for its citizens’ grievances against an allegedly predatory foreign

  business.” Id. It is also worth noting that “although the Southern District of Florida has

  one of the busiest dockets in the United States” this factor should be accorded little or no

  weight in the analysis. Morse v. Sun In’l Hotels Ltd., 2001 WL 34874967, at *6 (S.D.

  Fla. Feb. 26, 2001).




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         Additionally, it is clear that the instant action is in key respects a localized Florida

  controversy. This Court emphasizes that the federal interest is “very strong . . . [when] its

  citizens are allegedly victims and the injury occurs on home soil.” SME Racks, 382 F.3d

  at 1104. This controversy concerns a Florida company, regarding Florida assets (bitcoins

  mined in Florida) and intellectual property developed by that Florida company, where

  both the injured parties are Florida citizens. Therefore, the Southern District of Florida

  undeniably has a strong interest in adjudicating a case in which its residents claim that

  harm was committed against them.

         Additionally, Defendant argues that in allowing this case to proceed, the Court

  would be required to apply Australian law because the Amended Complaint relies on

  “Australian legal documents,” and because certain contracts at issue “contain the parties’

  agreement to submit any dispute to the jurisdiction of the courts of New South Wales,

  Australia.”   ECF No. [33], at 21-22.       Even if foreign law were to play a role in

  interpreting the contract provisions at issue, this alone is not enough to defeat the

  Plaintiffs ability to litigate the case here in the United States.        TNT USA, Inc v.

  TrafiExpress, S.A. de C.V., 434 F. Supp. 2d 1322, 1335 (S.D. Fla. 2006) (finding that

  foreign contractual provisions could be properly adjudicated within the American forum,

  and that the interpretation of foreign law within the contract provisions alone was not

  enough to take away the plaintiff’s ability to litigate in its choice forum); see also SME

  Racks, Inc., 382 F.3d at 1104–05 (finding that “while the application of foreign law is an

  important factor to be considered in weighing the public interests, this factor cannot be

  accorded dispositive weight.”); Burt v. Isthmus Development Co., 218 F.2d 353, 358 (5th

  Cir.1955) (finding the need to apply foreign law to decide a controversy does not amount



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  to a sound reason to dismiss the case). Accordingly, this Court finds that the public

  interest factors do not direct dismissal of this case. The Defendant has not met his heavy

  burden of opposing Plaintiffs, and dismissal on forum non conveniens grounds is

  therefore not warranted.

           E. International Abstention

           Defendant also argues that dismissal is required in application of the international

  abstention doctrine.     In general, federal courts have an obligation to exercise the

  jurisdiction conferred upon them. Colo. River Water Conservation Dist. v. United

  States, 424 U.S. 800, 817, 96 S. Ct. 1236, 1246, 47 L.Ed.2d 483 (1976). However,

  abstention from the exercise of jurisdiction is appropriate in some private international

  disputes. Turner Entertainment Co. v. Degeto Film GmbH, 25 F.3d 1512, 1518 (11th

  Cir. 1994). Abstention is the exception instead of the rule, and “courts regularly permit

  parallel proceedings in an American court and a foreign court.” Ortega Trujillo v.

  Conover & Co. Commc’ns, 221 F.3d 1262, 1265 (11th Cir. 2000).                   The doctrine

  of international abstention enables courts to abstain and stay proceedings in this country

  in favor of litigation proceeding elsewhere. In examining whether abstention is

  appropriate, courts must consider issues of international comity, fairness to litigants, and

  the efficient use of scarce judicial resources. See Turner Entm’t Co. v. Degeto Film

  GmbH, 25 F.3d 1512, 1518 (11th Cir. 1994). International comity “is the recognition

  which one nation allows within its territory to the legislative, executive, or judicial acts of

  another nation, having due regard both to international duty and convenience, and to the

  rights of its own citizens, or of other persons who are under the protection of its

  laws.”    Posner v. Essex Ins. Co., Ltd., 178 F.3d 1209, 1223 n. 25 (11th



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  Cir.1999) (quoting Hilton v. Guyot, 159 U.S. 113, 163–64, 16 S.Ct. 139, 40 L.Ed. 95

  (1895)). In considering the fairness to litigants, the court should consider the order in

  which the suits were filed, the more convenient forum, the possibility of prejudice

  resulting from abstention, and the risk of inconsistent judgments. See Turner, 25 F.3d at

  1521–22; Posner, 178 F.3d at 1224. Finally, with regard to the efficient use of scarce

  resources, courts must consider the inconvenience of the federal forum, the desirability of

  avoiding piecemeal litigation, whether the actions have common parties and issues, and

  whether the alternative forum is likely to render a prompt resolution. Turner, 25 F.3d at

  1522.

          The Court finds that the Amended Complaint should not be dismissed based on

  the doctrine of international abstention. First, principles of international comity do not

  favor abstention. This case is distinct from the proceedings brought in Australia, as those

  proceedings did not address any of the tort claims brought by the Plaintiffs in the instant

  action and Plaintiffs have alleged the Australian Judgments do not even begin to cover all

  of the assets and property sought in the Amended Complaint. ECF No. [50], at 34 (The

  Australian Judgments “maximum preclusive effect would only bar Plaintiffs claims to

  W&K’s intellectual property, leaving the overwhelming majority of Plaintiffs’ claims.”).

  With regard to fairness to litigants, this factor also does not favor abstention. While the

  Australian lawsuits were undoubtedly filed first, Plaintiffs allege that the Defendant

  failed to serve the Plaintiffs or provide adequate notice that the lawsuits were underway.

  ECF No. [24], at ¶ 119. Moreover, as discussed supra, the United States is the more

  convenient forum to adjudicate Plaintiffs’ claims. Finally, the Court does not believe the

  efficient use of judicial resources compels abstention. The proceedings in Australia were



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  ministerial in nature, in that they were never contested by W&K and were rendered as a

  result of consent judgments. Further, it is not readily apparent that the Supreme Court of

  New South Wales adjudicated the claims on the merits. Lastly, since the Australian

  lawsuits are currently closed, there is presently no parallel case to which this Court would

  abstain. In essence, the resolution of the instant matter will not result in piecemeal

  litigation or otherwise waste judicial resources. Accordingly, the Court rejects the

  argument that the Amended Complaint should be dismissed based upon the doctrine

  of international abstention.

         F. Personal Jurisdiction

         Defendant also argues that the Amended Complaint does not properly assert

  personal jurisdiction over the Defendant. He contends that the Plaintiffs have failed to

  establish personal jurisdiction under Fla. Stat. § 48.193(1)(a)(1-2), as the Amended

  Complaint fails to show that the Defendant committed the wrongful acts in the course of

  “[o]perating, conducting, engaging in, or carrying on a business” or “committed tortious

  acts” while physically in the state of Florida or in the United States. ECF No. [33], at 34.

         Physical presence in the forum state is not required to establish personal

  jurisdiction under Fla. Stat. 48.193(a)(1-2). Wendt v. Horowitz, 822 So. 2d 1252, 1260

  (Fla. 2002); see also Canadian Steel, Inc. v. HFP Capital Markets, LLC, No. 11-23650-

  CIV, 2012 WL 2326119, at *4 (S.D. Fla. June 19, 2012) (following the “clear weight of

  binding Eleventh Circuit authority on this question” and holding plaintiffs’ established

  personal jurisdiction under 1(a)(2) solely “on the basis of its allegations that it suffered

  injury in Florida from Defendants’ intentional torts.”). Indeed, the Eleventh Circuit has

  held that a court may assert jurisdiction over a “nonresident defendant who commits a



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  tort outside of the state that causes injury inside the state.” Brennan v. Roman Catholic

  Diocese of Syracuse New York, Inc., 322 F. App’x 852, 855 (11th Cir. 2009) (citing

  Posner v. Essex Ins. Co., 178 F.3d 1209, 1217 (11th Cir. 1999)). Thus when an out-of-

  state defendant commits an intentional tort against a Florida citizen, as the Plaintiffs have

  alleged occurred in the instant matter, the defendant has caused the necessary Florida

  injury and is subject to jurisdiction here. Therefore, the Court finds that Plaintiffs have

  alleged a prima facie case for jurisdiction over Defendant pursuant to Fla. Stat. §

  48.193(1-2), based on the allegations of the Amended Complaint. In so finding, the

  Court follows the clear weight of binding Eleventh Circuit authority on this question. In

  particular, the Court is bound by the Eleventh Circuit's pronouncement in Licciardello v.

  Lovelady, 544 F.3d 1280 (11th Cir. 2008), that § 48.193(1)(b) of the Florida long-arm

  statute permits jurisdiction over an out-of-state defendant who commits an out-of-state

  tort, so long as that tort caused an injury in Florida. See 544 F.3d at 1283 (citing Posner

  v. Essex Ins. Co., 178 F.3d 1209, 1216 (11th Cir.1999)).

         G. Statute of Limitations

         Defendant further moves to dismiss all of Plaintiffs’ claims arguing that they are

  barred by the applicable statute of limitations. Defendant asserts that a four-year statute

  of limitations applies to Plaintiffs’ claims for conversion (Count I), Unjust Enrichment

  (Count II), breach of fiduciary duty (Count V), breach of partnership duties and loyalty of

  care (Count VI), fraud (Count VII), constructive fraud (VIII), and permanent injunction

  (IX). ECF [33], at 36. Concerning Plaintiffs’ misappropriation claims (Counts III and

  IV), Defendant asserts that a three-year statute of limitations applies. Id. “Generally,

  whether a claim is barred by the statute of limitations should be raised as an affirmative



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  defense in the answer rather than in a motion to dismiss . . . However, if facts on the

  face of the pleadings show that the statute of limitations bars the action, the defense can

  be raised by motion to dismiss.” Spadaro v. City of Miramar, 855 F. Supp. 2d 1317,

  1328 (S.D. Fla. 2012) (citing Cabral v. City of Miami Beach, 76 So.3d 324, 326 (Fla. 3d

  DCA 2011)); see also Keira v. U.S. Postal Inspection Serv., 157 Fed.Appx. 135, 136

  (11th Cir. 2005) (“At the motion-to-dismiss stage, a complaint may be dismissed on the

  basis of a statute-of-limitations defense only if it appears beyond a doubt that Plaintiffs

  can prove no set of facts that toll the statute.”) (internal quotation marks and citation

  omitted). “A statute of limitations bar is an affirmative defense, and plaintiffs are not

  required to negate an affirmative defense in their complaint.” La Grasta v. First Union

  Securities, Inc., 358 F.3d 840, 845 (11th Cir. 2004) (internal citations and quotations

  omitted). “[A] Rule 12(b)(6) dismissal on statute of limitations grounds is appropriate

  only if it is apparent from the face of the complaint that the claim is time barred.” Id.

         Concerning Plaintiffs’ claims to which the four-year statute of limitations applies

  (Counts I, II, V, VI, VII, VIII and IX), Defendant claims that the last act establishing

  these causes of action occurred when Dave Kleiman died or, at the latest, by November

  2013, when the Defendant obtained the Australian Judgments.             Id. at 37.    In their

  Opposition, Plaintiffs argue that the Defendant has identified the incorrect accrual dates,

  that issues of fact predominate the accrual of Plaintiffs’ claims, and that the relevant

  Florida authority permits the tolling of the statute of limitations. ECF No. [50], at 43.

  The Court agrees that the wrong accrual date related to these claims has been identified

  by the Defendant and that Plaintiffs have alleged facts sufficient to demonstrate that




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  under the doctrine of fraudulent concealment, the statute of limitations could have been

  tolled.

            Florida law permits the tolling of a statute of limitations “when a plaintiff alleges

  fraudulent concealment.” Razor Capital, LLC v. CMAX Fin. LLC, 17-80388-CIV, 2017

  WL 3481761, at *4 (S.D. Fla. Aug. 14, 2017); see also Raie v. Cheminova, Inc., 336 F.3d

  1278, 1282 n.1 (11th Cir. 2003) (“Fraudulent concealment requires the defendants to

  engage in the willful concealment of the cause of action using fraudulent means to

  achieve that concealment.”) (citing Berisford v. Jack Eckerd Corp., 667 So. 2d 809, 811-

  12 (Fla. 4th DCA 1995)); Nardone v. Reynolds, 333 So. 2d 25, 39 (Fla. 1976) (“[T]he

  statute of limitations will be tolled when it can be shown that fraud has been perpetrated

  on the injured party sufficient to place him in ignorance of his right to a cause of action or

  to prevent him for discovering his injury.”); Vargas By & Through Vargas v. Glades

  General Hosp., 566 So. 2d 282, 285 (Fla. 4th DCA 1990) (“[T]he courts will not protect

  defendants who are directly responsible for the delays of filing because of their own

  willful acts; it is a doctrine to prevent the court from participating in the fraud of the

  defendant.”). To show fraudulent concealment, a plaintiff must show “(1) successful

  concealment of the cause of action; (2) fraudulent means to achieve that concealment and

  (3) that the plaintiff exercised reasonable care and diligence in seeking to discover the

  facts that form the basis of the claim.” Razor Capital, 2017 WL 3481761 at *4.

  “[W]hether or not fraudulent concealment is sufficient to toll the statute of limitations is a

  question of fact.” Id. (citing Walker v. Dunne, 368 So. 2d 640, 641 (Fla. 2nd DCA

  1979)).




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         Here, Plaintiffs have alleged that the Defendant engaged in a fraudulent scheme to

  take control of assets belonging to the Estate and W&K by initiating lawsuits in Australia

  without giving any of the Plaintiffs notice that the suits were underway. In order to

  procure the Plaintiffs’ property, the Plaintiffs claim that the Defendant forged several

  contracts to make it seem like Dave had willingly given the Defendant W&K’s

  intellectual property and bitcoins. ECF No. [24], at ¶ 97. Plaintiffs assert that they only

  became aware of the facts that give rise to the claims asserts in Counts (Counts I, II, V,

  VI, VII, VIII and IX) in April 2014. Id. at ¶ 123. Further, when the Defendant was

  confronted by Ira about the Australian Judgments, Defendant admitted that he had taken

  such actions because “Dave died” and he wanted to “make sure that the court signed off

  on what [they had] planned. Id. Because the Court is required to assume all factual

  allegations as true, this is the time when the statute of limitations begins to run. As such,

  these claims were timely brought within the four-year period, and were not barred by the

  statute of limitations. If, during discovery, it becomes apparent that Plaintiffs became

  aware of the Defendant’s conduct more than four years before the filing of the instant

  action, Defendant may raise the statute of limitations issue again in a motion for

  summary judgment. Del Monte Fresh Produce Co. v. Dole Food Co., 136 F. Supp. 2d

  1271, 1293–94 (S.D. Fla. 2001).

         Turning to the Plaintiffs’ misappropriation claims (Count III and IV), section

  688.007 of the Florida Statutes provides that “[a]n action for misappropriation must be

  brought within three years after the misappropriation is discovered or by the exercise of

  reasonable diligence should have been discovered.” Fla. Stat. § 688.007. A proceeding

  under 18 U.S.C. §1836 must be commenced within 3 years after the date on which the



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  misappropriation is discovered or should have been discovered. See 18 U.S.C. §1836

  (b)(3)(d). Dismissal on statute of limitations grounds is appropriate only if it is “apparent

  from the face of the complaint” that the claim is time-barred. La Grasta v. First Union

  Sec., Inc., 358 F.3d 840, 845 (11th Cir. 2004).

         The Court has carefully reviewed the Amended Complaint, and finds that the

  Plaintiffs’ misappropriation claims are barred by the three-year statute of limitations

  based on the facts as alleged on the face of the Amended Complaint. The instant action

  was filed on February 14, 2018. ECF No. [1]. The Amended Complaint directly states

  that Plaintiffs became aware of the Australian Judgments when an ATO auditor contacted

  Ira Kleiman on April 15, 2014 – which is well beyond the three-year statute of limitations

  period for Plaintiffs misappropriation claims. ECF No. [24], at ¶¶ 123, 141-143. The

  Amended Complaint alleges that on April 22, 2014, Ira confronted the Defendant via

  email and stated that he “felt like there [were] questionable discrepancies in the contracts

  between you and W&K such as Dave’s signatures, his resignation, transfer of all

  accountable value . . . .” Id. at 144; ECF No. [24-24], at 20. Counts III and IV of the

  Amended Complaint relate directly to the trade secrets that are identified as “those Craig

  attempted to have transferred through the fraudulent Australian judgments.” ECF No.

  [24], at 43.   Thus, Plaintiffs have affirmatively stated that they were aware of the

  Defendant’s conduct on April 22, 2014, which is the conduct that gives rise to their

  claims for misappropriation. Even if they did not know the extent of the harm, upon

  learning of the Defendant’s conduct from the ATO auditor, the Plaintiffs should have

  discovered the Defendant’s misapplication of the trade secrets through the “exercise of

  reasonable diligence.”



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         In light of the fact that the Court can determine from the face of the Amended

  Complaint that the statute of limitations has run, Plaintiffs’ claims for misappropriation in

  Count III and IV are dismissed. See Caplen v. Guardian Life Ins. Co. of Am., 1996 WL

  1057652     *4,    No.    96–8359–CIV       (S.D.    Fla.    Oct.    22,   1996)     (stating

  that statute of limitations may be raised on motion to dismiss only if court can determine

  from face of complaint that limitations period has run).

         H. Failure to State Sustainable Claims

         In his final argument for the dismissal of the Amended Complaint, the Defendant

  claims that the Amended Complaint fails to state “sustainable claims.” ECF No. [33], at

  40. Defendant claims that “the amended complaint does not allege a coherent or

  justiciable basis for relief” and instead “tells a tall tale,” which is “far-fetched and

  apparently fabricated as a Rube Goldberg contraption.” Id.

         In reviewing a “Rule 12(b)(6) [motion] for failure to state a claim, [courts]

  accept[] the factual allegations in the complaint as true and constru[e] them in the light

  most favorable to the plaintiffs.” Adinolfe v. United Techs. Corp., 768 F.3d 1161, 1169

  (11th Cir. 2014). Accordingly, at this stage, the Court construes the facts alleged in the

  light most favorable to the Plaintiffs and disagrees with the Defendant that the Amended

  Complaint is “implausible” on its face.

         The Defendant also argues that Plaintiffs have failed to adequately allege a claim

  for conversion (Count I) of the bitcoins at issue in this case, because as a form of money

  the Plaintiffs failed “to allege that any of the purported bitcoins were specifically

  identifiable or that Dave Kleiman had exclusive ownership of any identifiable bitcoins.”

  ECF No. [33], at 49. Plaintiffs argue that bitcoin is not “money” but rather a commodity,



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  and regardless of whether it is money, they have identified the bitcoin with sufficient

  specificity. ECF No. [50], at 51.

         Florida law defines the tort of conversion as “the wrongful exercise of dominion

  or control over property to the detriment of the rights of one entitled to possession.”

  United States v. Bailey, 288 F. Supp. 2d 1261, 1269 (M.D. Fla. 2003) aff’d, 419 F.3d

  1208 (11th Cir. 2005) (citing Bel-Bel Int’l Corp. v. Cmty. Bank of Homestead, 162 F.3d

  1101, 1108 (11th Cir. 1998)); see Deutsche Bank Nat. Trust Co. v. Foxx, 971 F. Supp. 2d

  1106, 1119 (M.D. Fla. 2013) (“Conversion is an unauthorized act that deprives a person

  of his property permanently or for an indefinite time”). To establish a claim for

  conversion of money under Florida law, a claimant must demonstrate: (1) specific and

  identifiable money; (2) possession or an immediate right to possess that money; (3) an

  unauthorized act which deprives plaintiff of that money; and (4) a demand for return of

  the money and a refusal to do so. Bailey, 288 F. Supp. 2d at 1264 (citing Navid v.

  Uiterwyk Corp., 130 B.R. 594, 595-596 (M.D. Fla. 1991)). An action for conversion of

  money consists of three elements: specific and identifiable money, a deprivation of

  money belonging to another, and an unauthorized act, which deprives another of his

  money. Navid, 130 B.R. at 595 (M.D. Fla. 1991).

         The Eleventh Circuit Court of Appeals has yet to decide whether bitcoin is

  considered “money” for the purposes of a claim of conversion in a civil context. As cited

  by the Defendant, however, courts in other districts have held that bitcoin qualified as

  money for the purposes of indicting and prosecuting a defendant on federal money

  laundering statutes. See e.g., United States v. Faiella, 39 F. Supp. 3d 544, 545 (S.D.N.Y.

  2014); see also SEC v. Shavers, 2013 WL 4028182, at *2 (E.D. Tex. Aug. 6, 2013) (“It is



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  clear that Bitcoin can be used as money. It can be used to purchase goods or services....

  [I]t can also be exchanged for conventional currencies....”). Plaintiffs argue that even if

  “the specificity requirement for conversion of money claims applies, the [Amended

  Complaint] sufficiently identifies the bitcoins Plaintiffs owned.” See ECF No. [50], at

  48. The Court agrees with the Plaintiffs.

         Whether or not bitcoin is “money” for the purposes of a conversion claim, the

  Court agrees with the Plaintiffs that they have sufficiently (and with specificity) alleged a

  claim for conversion. In regards to the bitcoin’s specificity and identity, Plaintiffs have

  alleged that the bitcoin blockchain is “a giant ledger that tracks the ownership and

  transfer of every bitcoin in existence and that every bitcoin wallet and the number of

  bitcoin inside that particular wallet can be identified on the blockchain by referring to its

  “public key.” ECF No. [24], at ¶¶ 20-21. Further Plaintiffs claim that the bitcoin at issue

  were “stored in specifically identifiable bitcoin wallets.” Id. at ¶ 65. Defendant also

  argues that Plaintiffs have failed to “allege exactly how many bitcoins Dave Kleiman

  supposedly owned at any time in the past.” ECF No. [33], at 48. Plaintiffs, however,

  have directly alleged that Defendant admitted that Dave owned at “least 300,000 of the

  1,000,000+ bitcoins allegedly held in trust.” ECF No. [24], at ¶ 88. The Plaintiffs have

  also alleged that the bitcoins were transferred to trusts located in “Seychelles, Singapore,

  and [the] UK.” ECF No. [33], at ¶ 84.

         Here, the Court finds that Plaintiffs have sufficiently alleged a claim for

  conversion. The Amended Complaint alleges that Defendant converted at least 300,000

  bitcoins upon Dave’s death and transferred them to various international trusts, which




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  was an unauthorized act that deprived the Plaintiffs of the bitcoins therein. Accordingly,

  Plaintiffs’ claim for conversion (Count I) survives Defendant’s Motion to Dismiss.

         Lastly, Defendant argues that Plaintiffs failed to adequately allege a claim for

  constructive fraud because the Plaintiffs failed to identify the existence of a fiduciary

  relationship between the Defendant and Ira Kleiman. ECF No. [33], at 49-50. Under

  Florida law, constructive fraud occurs “when a duty under a confidential or fiduciary

  relationship has been abused or where an unconscionable advantage has been taken.”

  Levy v. Levy, 862 So. 2d 48, 53 (Fla. 3d DCA 2003). The Florida Supreme Court has

  stated that the relation and duties involved need not be legal; instead, “they may be

  moral, social, domestic, or personal.” Doe v. Evans, 814 So. 2d 370, 374 (Fla. 2002). A

  fiduciary or confidential relationship exists where “confidence is reposed by one party

  and a trust is accepted by the other, or where confidence has been acquired and abused.”

  Id. The origin of the confidence is immaterial. See Id. Thus, “[t]he term ‘fiduciary or

  confidential relation’ is a very broad one.” Am. Honda Motor Co. v. Motorcycle Info.

  Network, Inc., 390 F. Supp. 2d 1170, 1179 (M.D. Fla. 2005) (quoting Quinn v. Phipps,

  113 So. 419, 420 (Fla. 1927) ).

         To state a claim for breach of a fiduciary or confidential relationship, “a party

  must allege some degree of dependency on one side and some degree of undertaking on

  the other side to advise, counsel, and protect the weaker party.” Watkins v. NCNB Nat.

  Bank of Fla., N.A., 622 So. 2d 1063, 1065 (Fla. 3d DCA 1993) (quoting Bankest Imports,

  Inc. v. ISCA Corp., 717 F. Supp. 1537, 1541 (S.D. Fla. 1989)). “The fact that one party

  places trust or confidence in the other does not create a confidential relationship in the

  absence of some recognition, acceptance or undertaking of the duties of a fiduciary on the



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  part of the other party.” Lanz v. Resolution Trust Corp., 764 F. Supp. 176, 179 (S.D. Fla.

  1991).

           The Defendant argues that Plaintiffs have failed to adequately allege a claim for

  constructive fraud because Plaintiffs failed to “identify the fiduciary relationship that [the

  Defendant] purportedly breached other than to say that it was a “fiduciary” one, let alone

  allege that [the Defendant] ever “recognized, accepted, or undertook” any fiduciary

  duties to Ira Kleiman or W&K after Dave Kleiman died.” ECF No. [33], at 50. As an

  initial matter, as this Court has previously noted, “[u]nless the relationship is formed

  through an express agreement, whether a fiduciary relationship exists is necessarily fact-

  specific to a particular case. “Therefore a claim alleging the existence of a fiduciary duty

  usually is not subject to dismissal under Rule 12(b)(6)’ because it ‘is often impossible to

  say that [a] plaintiff will be unable to prove the existence of a fiduciary relationship.’”

  Hansen v. Premier Aviation Holdings, LLC, No. 17-CV-61025, 2017 WL 8893119, at *4

  (S.D. Fla. Nov. 21, 2017) (quoting Reuss v. Orlando Health, Inc., 140 F. Supp. 3d 1299,

  1304 (M.D. Fla 2015) (quoting Childers v. N.Y. Presbyterian Hosp., 36 F. Supp. 3d 292,

  300 (S.D.N.Y. 2014))).

           Additionally, under Florida law, constructive fraud also occurs “where an

  unconscionable advantage has been taken” of a weaker party. Plaintiffs allege that the

  Defendant took advantage of a family (the Estate) who was unaware of its deceased’s

  involvement in an invention that is alleged to have revolutionized the world and took

  control of property and assets that the Estate was unaware existed. Specifically, the

  Amended Complaint alleges that the Defendant reached out to Dave’s elderly father 10-

  months after his son’s passing, representing that he was not “seek[ing] anything other



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  than to give [him] information about [his] son,” offering to help the Kleiman family

  recover what Dave owned. ECF No. [24], at ¶ 133. The Amended Complaint further

  alleges that the Defendant provided the Estate with details and insight on the new

  company (Coin-Exch.) that the Defendant and Dave had intended to start together, and

  told the Estate that they would receive shares in the company “worth millions.” Id. at ¶

  136. The Amended Complaint, also claims that the Defendant made several fraudulent

  omissions and misrepresentations to the Estate related to the property and assets at issue

  in this action. See Id. at ¶¶ 14, 138-139, 149. At this stage of the pleadings, and

  accepting Plaintiffs’ allegations as true, Plaintiffs have sufficiently asserted a claim for

  constructive fraud and the Court finds that Count VIII also survives Defendant’s Motion

  to Dismiss.

  IV.    CONCLUSION

         Accordingly, it is ORDERED and ADJUDGED as follows:

             1. Defendant’s Motion to Dismiss the Amended Complaint, ECF No. [33], is

                 GRANTED in part and DENIED in part.                 Counts III and IV of

                 Plaintiffs’ Amended Complaint, ECF No. [33], are DISMISSED WITH

                 PREJUDICE.

             2. Defendant shall answer Counts I, II, V-IX of the Amended Complaint,

                 ECF No. [24], no later than January 10, 2019.

         DONE AND ORDERED in Miami, Florida, this 27th day of December, 2018.




                                               _________________________________
                                               BETH BLOOM
                                               UNITED STATES DISTRICT JUDGE

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  Copies to:

  Counsel of Record




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